                              NO. 07-10-00089-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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JULY 15, 2010
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               DESIGNER TREE SERVICE AND DION MAEDA, APPELLANTS
                                       
                                      v.
                                       
                          YASMINE BRECHEEN, APPELLEE 
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                FROM THE 181ST DISTRICT COURT OF POTTER COUNTY;
                                       
                NO. 96,534-B; HONORABLE RICHARD DAMBOLD, JUDGE
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

                                       
                              MEMORANDUM OPINION
                                       
Appellants, Designer Tree Service and Dion Maeda, filed a motion to dismiss their appeal.  In the motion, counsel for appellants states he conferred with counsel for appellee about the merits of the motion and counsel for appellee agrees. 
The motion to dismiss is granted and the appeal is dismissed. Tex. R. App. P. 42.1(a)(1).  Costs of the appeal are taxed against the party incurring them.

Having dismissed the appeal at appellants' request, we will not entertain a motion for rehearing and our mandate will issue forthwith.

								James T. Campbell
									Justice

	

